        Case 22-50073             Doc 4236      Filed 03/19/25              Entered 03/19/25 16:06:06              Page 1 of 5

                          United States Bankruptcy Court

                                  District of Connecticut


In re: HO WAN KWOK, et al.,                                                                          Case Number: 22-50073(JAM)
                                                                                                     Chapter: 11
         Debtor(s)
                                                                                                 U.S. District Court
         APPELLANT:                                                                                  Case No:
         META PLATFORMS, INC.                                                                    Filing Fee Status:
                                                                                                     ✔ Paid     Not Paid   IFP Granted



                      TRANSMITTAL NOTICE TO U.S. DISTRICT COURT FOR THE DISTRICT
                     OF CONNECTICUT REGARDING APPEALS AND APPELLATE DOCUMENTS

                                             NOTICE OF APPEAL INFORMATION

Notice of Appeal Filed:     March 18, 2025

BKY ECF No.1 : 4229
Filing Fee Status:    ✔   Paid/    Not Paid/    IFP Granted

If Not Paid, Motion to Proceed in Forma Pauperis Filed:       Yes, BKY ECF No.                   /       No

Appellant Name : META PLATFORMS, INC.

Appellant Address :

Appellant’s Counsel and Address (Address/Phone/Email): George Angelich
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1      ECF No(s). citations referenced in this Transmittal Notice refer to docket entries of the U.S. Bankruptcy Court for the case in
which the notice of appeal was filed, unless otherwise noted.

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Appellee(s) Name : LUC A. DESPINS, CHAPTER 11 TRUSTEE

Appellee(s) Address :

Appellee(s) Counsel and Address (Address/Phone/Email): Douglas S. Skalka
                                                       Patrick R. Linsey
                                                       NEUBERT, PEPE & MONTEITH, P.C.
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Other Interested Party Information:




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                              DOCUMENTS TRANSMITTED TO THE DISTRICT COURT
Please find the following items attached to this Transmittal Notice:
        ✔     Notice of Appeal, BKY ECF No.        4229

              Amended Notice of Appeal, BKY ECF No.

              Cross Appeal, BKY ECF No.

        ✔     Motion for Leave to Appeal, BKY ECF No.         4230

        ✔     Order / Decision being appealed
            Title of Order / Decision: Memorandum of Decision and Order (I) Denying Joint Defendants' Motions to Dismiss
                                       or for Judgment on the Pleadings; (II) Denying in Part Other Defendants' Motions to
                                       Dismiss; and (III) Overruling in Part Zeisler & Zeisler, P.C.'s Objection to the Trustee's
                                       Motion for Judgment on the Pleadings
            BKY ECF No.: 4189
            Additional Information (If Any)



              Deficiency Notice Issued for Failure to Pay Filing Fee, BKY ECF No.

              Motion to Proceed in Forma Pauperis, BKY ECF No.
                  Order, BKY ECF No.
            Resolution of Motion:


              The Record
                  Appellant’s Designation of Items, BKY ECF No.
                         Included in the Electronic Docket Sheet
                  Appellant’s Statement of Issues, BKY ECF No.
                         Included in the Electronic Docket Sheet
                  Appellee’s Designation of Items, BKY ECF No.
                         Included in the Electronic Docket Sheet
                  Appellee’s Statement of Issues, BKY ECF No.
                         Included in the Electronic Docket Sheet
                  Electronic Docket Sheet for Bankruptcy Case Number:
                  Electronic Docket Sheet for Adversary Proceeding Case Number:
                  Transcripts:
                  Sealed Documents:
                  Sealed documents will not be transmitted until an order is entered by the U.S. District Court accepting the
                  documents under seal pursuant to Fed. R. Bankr. P. 8009(f).
                  Court Exhibits (Paper Copies):
                  Other Documents:

              Other:




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Transmitted By: Karen M. Garofalo                                                 Date: March 19, 2025
                Deputy Clerk, U.S. Bankruptcy Court




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                          United States Bankruptcy Court

                                   District of Connecticut


In re: HO WAN KWOK, et al.,                                                                     Case Number: 22-50073(JAM)
                                                                                                Chapter: 11
        Debtor(s)
                                                                                               U.S. District Court
        APPELLANT:                                                                             Case No:
        META PLATFORMS, INC.                                                                   Filing Fee Status:
                                                                                                ✔ Paid    Not Paid    IFP Granted
Regarding:
Notice of Appeal Filed:     March 18, 2025
Notice of Appeal, BKY ECF No. 4229


                                             Acknowledgement by U.S. District Court
               I hereby acknowledge receipt of the items indicated on the Transmittal Notice referenced
               above.

If Notice of Appeal and/or Motion for Leave to Appeal Received:

The following U.S. District Court number has been assigned:


Acknowledged By:                                                                     Date:
                          Deputy Clerk, U.S. District Court




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